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                 UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA, )
             Prosecution, )
                          )
v.                        )                  DOCKET NO. 1:16-CR-0212-003
                          )
                          )                  HON. CHRISTOPHER CONNER
TOREY WHITE,              )
             Accused.     )                  ELECTRONICALLY FILED


    SUPPLEMENTAL BRIEF IN SUPPORT OF MOTIONS TO SEVER

      COMES NOW the Accused, Torey White, by counsel, offers the following

supplemental brief in support of his motion to sever defendants. Doc. 1107. In

further support of this Motion, Mr. White states:

      On December 27, 2021, Mr. White filed a Motion to Admit Pre-Trial

Statements of Kenyatta Corbett and, if Necessary, to Sever Defendants. Doc.

1107. On the same date, Mr. White filed a Brief in Support of this Motion. Doc.

1108. Also on December 27, Codefendant Jerrell Adgebesan filed a motion to

exclude Corbett’s statements or sever defendants. Docs. 1103 (motion), 1104

(brief). On January 6, 2022, the Court ordered the government to file an expedited

response to those motions before noon on January 12, 2022. Thus, it appears that

severance issues will be ripe and before the Court by the middle of the week.

These issues are also important to resolve expeditiously since they may impact the

April 11, 2022 trial date recently set by the Court. Doc. 1132.
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      On the same date that the motions regarding Kenyatta Corbett were filed,

Codefendants Coles and Adgebesan filed additional motions in limine that further

support severance of these defendants. Mr. White files this supplemental brief to

ensure that all currently known issues relevant to severance are brought before the

Court as it considers the severance issue.

      On December 27, 2021, Codefendant Kevin Coles filed a motion to exclude

a recorded phone call between Wendy Chaney and Ronald Armstead (a/k/a

“Murder”) that took place within the hour before she was killed. Doc. 1095. On

the phone call, Ms. Chaney informed Armstead that she had been “running scared

for the past two days.” She stated that Kevin Coles “went crazy on Molly and took

all my shit” and tried to take her money. She stated that Coles “was gonna kill

me.” She stated that Coles “told me he wanted to kill me.” She queried Armstead

about various people’s gang affiliations. She also told Armstead that Torey White

(“Drop”) “came through” and “kept me away from the bullshit.” She told

Armstead “I should have stayed with Drop” and “whatever me and [Drop] went

through, we went through. But still at the end of the day he didn’t let me starve.

He didn’t do this shit.” When Armstead began bad-mouthing Torey White, Ms.

Chaney stated “[y]ou can’t say shit about Drop. You can’t say nothing about him .

. . Anybody else you say shit about ‘em, Murder, I’ll fight you about that.”




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      This phone call is highly exculpatory to Torey White. It demonstrates that

Ms. Chaney expressed her fear that Kevin Coles was going to kill her, but that

Torey White was someone that she “should have stayed with.” Kevin Coles’s

interest in excluding this phone call is squarely at odds with Torey White’s interest

in presenting it in his defense.

      Similarly, Kevin Coles has filed a motion to exclude evidence that he kicked

in the door to Ms. Chaney’s apartment. Doc. 1097. At trial, Torey White would

introduce this evidence to show that Mr. Coles was behaving violently toward Ms.

Chaney in the days leading up to her murder. Phone records, including the

Chaney-Armstead call summarized above, indicate that Ms. Chaney was scared

that Kevin Coles would kill her and that Torey White was protective of her.

      Third, Codefendant Jerrell Adgebesan has filed a motion to exclude wiretap

recordings. Doc. 1105. In these recordings, various Baltimore Codefendants and

other witnesses discuss the offense and form a conspiracy to kill Mr. Adgebesan

based on their suspicion that he was cooperating with law enforcement’s

investigation of the triple homicide. Here again, Torey White (and likely Kevin

Coles) have an equally strong interest in ensuring that the jury hears those calls.

Nowhere on those recordings do any of the witnesses suggest that anyone other

than Michael Buck, Jerrell Adgebesan, Kenyatta Corbett, Christopher Johnson,

Deandre Coleman, and Johnnie Jenkins-Armstrong were involved in the planning



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or execution of these crimes. At no point does anyone express concern that Torey

White could be providing information about them. These calls are exculpatory to

show that Torey White was not a member of the conspiracy that resulted in the

triple homicide and therefore that the actual members of the conspiracy were

unconcerned about him. Indeed, the calls demonstrate that these Baltimore

Codefendants were not even aware of Torey White prior to his indictment in this

matter.

      Fourth, and finally, on December 29, 2021, the defense was provided with a

recording of Christopher Johnson’s June 5, 2019, polygraph, including his pre-

polygraph and post-polygraph interviews. In those interviews, Johnson was

adamant that he was never aware of any plan to kill anyone. He stated that the

plan was rob money, drugs, and guns from the Jackson residence, and that the

murders happened because Phillip Jackson broke out of his zip ties and charged at

him. After being told that he did not pass the polygraph (which was not accurate;

the results were inconclusive), and being badgered for 45 minutes on why he was

holding back on this being a “hit,” Johnson stated that it “turned out to be” a hit.

But, despite lengthy questioning, Johnson was never able to explain how or when it

became a hit. He remained emphatic that nobody told him that it was going to be a

hit, that he did not go there with the intention of killing anyone, that he did know

Wendy Chaney was going to be there, and that he only killed Phil Jackson because



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Mr. Jackson broke free of his restraints and charged at him. Johnson further stated

that if the purpose was to kill Ms. Chaney, they could have “shot her outside”

before even going into the barn.

      At the end of the interview, even the questioner stated that it “doesn’t make

sense” for Johnson to say this was a hit if Johnson did not know in advance that it

was a hit, since Johnson was the admitted shooter. Nevertheless, Johnson’s

account consistently remained that this was a plan to commit a robbery, that this

robbery was based upon information provided by Buck and Corbett, and that

Johnson, Adgebesan, Coleman, and Jenkins-Armstrong were the only other people

he knew to be involved. With respect to Coles and Torey White, Johnson was

clear that “I can’t tell you Coles was involved” and “I can’t tell you the thing about

the dude White, Torey White. I don’t know how some of these people fit into

this.” Johnson stated that he was confused and thought there must have been a

mistake when he read the indictment including these Codefendants, because he did

not know them and had no idea how they were supposed to have been involved.

      Obviously this is information that Torey White anticipates presenting in his

defense at trial. If the government does not call Christopher Johnson as a witness,

which may not be determined until mid-trial, Johnson’s prior statements will

present the same issues previously described with respect to Kenyatta Corbett.

Docs. 1107, 1108. Because Coleman is deceased and Jenkins-Armstrong was not



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in the barn when Mr. Jackson and Mr. Coles were shot, Johnson provides the only

complete account of what actually happened in the barn that night. His account is

unambiguous: he shot Phillip Jackson because Mr. Jackson broke free from his

restraints and charged at him; then he shot Mr. Cole because Mr. Cole had

witnessed the shooting of Mr. Jackson; then Ms. Chaney was brought back into the

barn and shot so that she would be unable to identify the people who committed

the robbery/murders. This evidence is squarely at odds with the theory that the

government has previously advanced to this Court, that “Phillip Jackson and

Brandon Cole witnessed the defendants kill Wendy Chaney” and were therefore

killed to “prevent . . . [them] from reporting a crime.” Doc. 759 at 6. Given that

Mr. White’s only alleged role in this conspiracy was to arrange for Ms. Chaney to

be present at the Jackson residence so that the others could kill her, it is highly

exculpatory to Torey White that the person who actually murdered these victims

repeatedly and consistently stated that he did so because a robbery went wrong,

and denied that there was ever any intention to murder Ms. Chaney or even that he

expected her to be there.

      It must be emphasized that these are merely the problems that are currently

before the Court based upon the pending motions in limine and the recently

disclosed Johnson video. The defense does not yet have complete access to the

Government’s Brady evidence (the Court ordered its full production and a



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complete “open file” today, January 10, 2022). Counsel anticipates that such

problems will inevitably continue to arise throughout a joint trial in this matter.

      In this case, the government is prosecuting a conspiracy in which the three

remaining defendants appear never to have communicated with one another. In

fact, the Government has never provided a workable theory as to how Mr. White,

Mr. Coles, and Mr. Adgebesan are even connected to one another, much less

engaged in a conspiracy together. For that reason, any evidence that arguably

inculpates one of the defendants will be relied upon by the other defendants as

exculpatory. For example, witnesses Mark Johnson and Angela Barney will

describe the conspiracy in terms that may inculpate Mr. Adgebesan, but will not

inculpate Torey White. Other witnesses, such as Zack Bowie, will give evidence

that is favorable to Mr. White, but unfavorable to his Codefendants. Thus, counsel

for Mr. White must expect that their efforts to present exculpatory evidence

throughout trial will be met by objections not only from the government, but also

from the other defense teams, just as has already happened with Kenyatta Corbett.

This is not merely a case of antagonistic defenses where defendants will be

pointing their finger at one another. It is a case in which the very evidence that

will establish Mr. White’s innocence could otherwise be inadmissible and unduly

prejudicial against one or more of his Codefendants, and where evidentiary

disputes are destined to occur continuously not only between the defendants and



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the government, but also between the defendants themselves. This is not a

workable scenario for a joint trial.

      It is unrealistic to expect a jury to consider evidence that alleged co-

conspirators attempted to murder Jerrell Adgebesan to silence him only as

evidence that those same co-conspirators were not concerned about Torey White.

Obviously that evidence would prejudice Mr. Adgebesan, which is why he has

moved to suppress it. Doc. 1105. It is also unrealistic for the jury to consider

Wendy Chaney’s statements that Kevin Coles wanted to kill her only as evidence

in favor of Torey White. Similarly, it is unrealistic to ask the jury to consider

evidence that Kevin Coles kicked in Wendy Chaney’s door only as evidence that

Torey White was protective of her. Obviously that evidence would prejudice Mr.

Coles, which is why Mr. Coles has moved to suppress it. Docs. 1095, 1097. It is

unrealistic to expect the jury to consider Corbett’s and Johnson’s complete

accounts of the offenses, both of which implicate Mr. Adgebesan, only as evidence

that Torey White was not a member of the conspiracy. This evidence would

prejudice Mr. Adgebesan, which is why he has moved to exclude Corbett’s

statements. Doc. 1103. In sum, in this case, no jury could possibly

“compartmentalize the evidence as it relates to separate defendants in view of its

volume and limited admissibility.” United States v. Davis, 397 F.3d 173, 182 (3rd




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Cir. 2005) (quoting United States v. Somers, 496 F.2d 723, 730 (3rd Cir. 1974)).

For these reasons, severance is necessary.

                                  CONCLUSION

      WHEREFORE, counsel for Mr. White respectfully moves this Honorable

Court to sever the three remaining defendants for trial.


                                       Respectfully submitted,

                                       Counsel for Torey White

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                          )                   HON. CHRISTOPHER CONNER
TOREY WHITE,              )
             Accused.     )                   ELECTRONICALLY FILED

                         CERTIFICATE OF SERVICE

      AND NOW comes Matthew L. Engle, Esquire, counsel for Torey White,

and certifies that a true and correct copy of the foregoing Notice has been served

upon AUSA Willam A. Behe, Federal Building, 228 Walnut Street, P.O. Box

11754, Harrisburg, Pennsylvania 17108 via E.C.F., or, if necessary, by first class

mail, postage prepaid, this 10th day of January, 2022.


                                       /s/ Matthew L. Engle, Esquire
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